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                                     UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF ARKANSAS

DONALD BARTON                                                            §
                                                                         §
          Plaintiff,                                                     §
                                                                         §
v.                                                                       §      Civil Action No. 3:17-CV-03087-TLB
                                                                         §
NATIONSTAR MORTGAGE LLC,                                                 §
EXPERIAN INFORMATION SOLUTIONS,                                          §
INC., and METLIFE HOME LOANS LLC,                                        §
                                                                         §
          Defendants.                                                    §

         JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

          Plaintiff Donald Barton (Barton) and defendant Nationstar Mortgage LLC (Nationstar)

settled this matter and hereby stipulate pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii) to the dismissal of all claims Barton asserted, or could have asserted against

Nationstar with prejudice. The parties shall each bear their own costs incurred herein. The court

will retain jurisdiction over the remaining claims and parties, and the settlement of the parties to

enforce the settlement agreement, if necessary.

          WHEREFORE, premises considered, the parties respectfully request the court enter an

order dismissing Barton's claims against Nationstar with prejudice and for any and all other relief

to which the parties may show themselves justly entitled.




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Date: February 22, 2018                                                  Respectfully submitted,


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                                             CERTIFICATE OF SERVICE

       I hereby certify that on December 26, 2017, a true and correct copy of the foregoing was
served as follows:

VIA ECF                                                               VIA ECF
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                                                                         /s/ Andrew Thomas
                                                                         Andrew Thomas




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